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                                                          RETURN OF SERVICE


   State of Florida                                          County of SOUTHERN                                            District Court

   Case Number: 19CV60597

   Plaintiff:
   ROBERT HOSSFELD, ET AL.,
   vs.
   Defendant:
   AMERICAN FINANCIAL SECURITY LIFE INSURANCE COMPANY, ET AL.,

   For:
   Scott D. Owens
   Law Office of Scott D. Owens, Esq.
   3800 S. Ocean Dr.
   #235
   Hollywood, FL 33019

   Received by Caplan, Caplan & Caplan Process Servers on the 30th day of May, 2019 at 4:30 pm to be served on RX
   HELPLINE, LLC ROBERT, GREGG, 7551 WILES ROAD, STE 106, CORAL SPRINGS, FL 33067.

   I, DAN ACKERMAN, do hereby affirm that on the 31st day of May, 2019 at 11:00 am, I:

   CORPORATE-R.A.EMPLOYEE, served a Corporation by delivering a true copy of the SUMMONS IN A CIVIL ACTION, AMENDED
   CLASS ACTION COMPLAINT AND EXHIBITS with the date and hour of service endorsed thereon by me, to: MARK LONGARO
   as EMPLOYEE for RX HELPLINE, LLC, at the address of: 7551 WILES ROAD, STE 106, CORAL SPRINGS, FL 33067, and
   informed said person of the contents therein, in compliance with F.S. 48.081(3) (A). Registered agent failed to be available between
   the statutory hours of 10AM- 12PM. (3)(a) As an alternative to all of the foregoing, process may be served on the agent designated
   by the corporation under s. 48.091. However, if service cannot be made on a registered agent because of failure to comply with s.
   48.091, service of process shall be permitted on any employee at the corporation’s principal place of business or on any employee
   of the registered agent. A person attempting to serve process pursuant to this paragraph may serve the process on any employee
   of the registered agent during the first attempt at service even if the registered agent is temporarily absent from his or her office.
   Every corporation shall keep the registered office open from 10 a.m. to 12 noon each day except Saturdays, Sundays, and legal
   holidays, and shall keep one or more registered agents on whom process may be served at the office during these hours. The
   corporation shall keep a sign posted in the office in some conspicuous place designating the name of the corporation and the name
   of its registered agent on whom process may be served.


   Under penalty of perjury, I declare that I have read the foregoing and that the facts stated in it are true, that I am a Sheriff
   Appointed Process Server in the county in which this defendant/witness was served and have no interest in the above action.
   Pursuant to FS 92.525(2) and 28 USC Section 1746, no notary is required.




                                                                                   DAN ACKERMAN
                                                                                   362

                                                                                   Caplan, Caplan & Caplan Process Servers
                                                                                   12555 Orange Drive
                                                                                   Suite 106
                                                                                   Davie, FL 33330
                                                                                   (305) 374-3426

                                                                                   Our Job Serial Number: CPN-2019018625
                                                                                   Service Fee: ________


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